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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

 LEINORA EADY,

             Plaintiff,

 v.                                            CASE NO.:

 CREDIT ONE BANK, NATIONAL                     DEMAND FOR TRIAL BY JURY
 ASSOCIATION,

             Defendant.
                                      /

                                     COMPLAINT

         Plaintiff, Leinora Eady (hereinafter “Plaintiff”), by and through the undersigned

 counsel, and sues Defendant, Credit One Bank, National Association (hereinafter

 “Defendant”), and in support thereof respectfully alleges violations of the Telephone

 Consumer Protection Act, 47 U.S.C. § 227 et seq. (“TCPA”) and the Florida Consumer

 Collection Practices Act, Fla. Stat. § 559.55 et seq. (“FCCPA”).

                                    INTRODUCTION

        1.      Plaintiff alleges violation(s) of the Federal Telephone Consumer

 Protection Act, 47 U.S.C. § 227 et seq. (“TCPA”) and the Florida Consumer Collection

 Practices Act, Fla. Stat. § 559.55 et seq. (“FCCPA”).

        2.      The TCPA was enacted to prevent companies like Defendant from

 invading American citizen’s privacy and prevent abusive “robo-calls.”
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        3.      “The TCPA is designed to protect individual consumers from receiving

 intrusive and unwanted telephone calls.” Mims v. Arrow Fin. Servs., LLC, -US--, 132

 S.Ct. 740, 745, 181 L.Ed. 2d 881 (2012).

        4.      “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the

 scourge of modern civilization, they wake us up in the morning; they interrupt our dinner

 at night; they force the sick and elderly out of bed; they hound us until we want to rip the

 telephone out of the wall.’ 137 Cong. Rec. 30, 821 (1991). Senator Hollings presumably

 intended to give telephone subscribers another option: telling the autodialers to simply

 stop calling.” Osorio v. State Farm Bank, F.S.B., 746 F. 3d 1242 (11th Cir. 2014).

        5.      According    to   the   Federal   Communications      Commission      (FCC),

 “Unwanted calls and texts are the number one complaint to the FCC.               There are

 thousands of complaints to the FCC every month on both telemarketing and robocalls.

 The FCC received more than 215,000 TCPA complaints in 2014." Fact Sheet: Wheeler

 Proposal to Protect and Empower Consumers Against Unwanted Robocalls, Texts to

 Wireless    Phones,    Federal   Communications       Commission,     (May     27,   2015),

 https://apps.fcc.gov/edocs_public/attachmatch/DOC-333676A1.pdf.

        6.      Likewise, the FCCPA is designed and adopted to reinforce individual

 consumers’ rights.

                              JURISDICTION AND VENUE

        7.      This is an action for damages exceeding Seventy-Five Thousand Dollars

 ($75,000.00) exclusive of interest, attorney fees and costs.
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        8.      Jurisdiction and venue for purposes of this action, are appropriate and

 conferred by 28 U.S.C. § 1331, Federal Question Jurisdiction, as this action involves

 violations of the TCPA.

        9.      Subject matter jurisdiction and federal question jurisdiction, for purposes

 of this action, are appropriate and conferred by 28 U.S.C. § 1331, which provides that the

 District Courts shall have original jurisdiction of all civil actions arising under the

 Constitution, laws, or treaties of the United States; and, this action involves violations of

 47 U.S.C. § 227(b)(1)(A)(iii). See Mims v. Arrow Fin. Servs., LLC, S.Ct. 740, 748 (2012)

 and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242, 1249 (11th Cir. 2014).

        10.     Venue is proper in this District as Plaintiff resides in this District, the

 violations described in this Complaint occurred in this District, and, Defendant transacts

 business within this District.

                                  FACTUAL ALLEGATIONS

        11.     Plaintiff is a natural person, and citizen of the State of Florida, residing in

 Hillsborough County, Florida.

        12.     Plaintiff is a “consumer” as defined in Fla. Stat. § 559.55(8).

        13.     Plaintiff is an “alleged debtor.”

        14.     Defendant is a person collecting an alleged obligation which arises out of

 personal, family or household transactions.

        15.     The alleged debt that is the subject matter of this Complaint is a

 “consumer debt” as defined by Florida Statute § 559.55(6), as it arises from personal,

 family or household transactions.
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        16.        Plaintiff is the “called party.” See Breslow v. Wells Fargo Bank, N.A., 755

 F. 3d 1265 (11th Cir. 2014) and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242 (11th

 Cir. 2014).

        17.        Defendant is a corporation attempting to collect an alleged consumer debt

 from Plaintiff.

        18.        Defendant is a corporate entity with its principal place of business located

 at 585 Pilot Road, Las Vegas, Nevada 89119, and which conducts business within the

 State of Florida.

        19.        Plaintiff is the subscriber, regular user and carrier of the cellular telephone

 number at issue, (813) XXX-9000 (hereinafter “cellular telephone”); and was the called

 party and recipient of Defendant’s hereafter described calls.

        20.        Defendant intentionally, knowingly and/or willfully harassed and abused

 Plaintiff on numerous occasions by calling Plaintiff’s cellular telephone, within the last

 four years, with such frequency as can reasonably be expected to harass and in an effort

 to collect an alleged consumer debt.

        21.        Defendant’s calls to Plaintiff continued, on average, three times per day.

        22.        Upon information and belief, some or all of the calls Defendant placed to

 Plaintiff’s cellular telephone were placed using an “automatic telephone dialing system”

 (hereinafter “Autodialer”), which has the capacity to store or produce telephone numbers

 to be called, using a random or sequential number generator (including but not limited to

 a predictive dialer) or an artificial or prerecorded voice; and to dial such numbers as

 specified by 47 U.S.C § 227(a)(1) (hereinafter “autodialer calls”).
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        23.     Furthermore, each of the calls at issue were placed by Defendant using an

 artificial or prerecorded voice, as specified by the TCPA, 47 U.S.C. § 227(b)(1)(A).

        24.     Within the last four years, Defendant began bombarding Plaintiff’s

 cellular telephone in an attempt to collect an alleged consumer debt.

        25.     Upon receipt of the calls, Plaintiff’s caller identification feature identified

 the calls were being initiated from, but not limited to, the telephone numbers 708-401-

 0605 and 813-607-4266.

        26.     On several occasions over the last four (4) years, going back to at least

 2013, Plaintiff instructed Defendant’s agents to stop calling her cellular telephone.

        27.     Upon Plaintiff’s receipt of one such call from Defendant, in or about June

 2017, Plaintiff answered the call, received Defendant’s artificial or prerecorded message,

 held on the line to be connected to a live agent/representative and informed said

 agent/representative to immediately cease all calls to her cellular telephone; furthermore,

 Plaintiff informed Defendant’s aforementioned agent/representative that its incessant

 calls were harassing her and demanded Defendant immediately cease all calls to her

 cellular telephone; thereby, unequivocally revoking any previously perceived expressed

 consent to be called using Defendant’s Autodialer, predictive dialer, artificial voice or

 prerecorded message.

        28.     During the aforementioned phone conversation with Defendant’s

 agent/representative, Plaintiff explicitly revoked any previously perceived expressed

 consent Defendant may have believed it had for placement of telephone calls to
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 Plaintiff’s cellular telephone by the use of an Autodialer or artificial voice or prerecorded

 message.

        29.     Each subsequent call Defendant placed to Plaintiff’s cellular telephone

 number was done so after Plaintiff explicitly revoked consent and without her express

 consent.

        30.     Each subsequent call Defendant placed to Plaintiff’s cellular telephone

 number was knowingly and willfully placed to her cellular phone without express

 consent.

        31.     Each of the Plaintiff’s requests for the harassment to end went ignored.

        32.     Defendant called Plaintiff on her cellular telephone in excess of two

 hundred (200) times since 2013 in attempt to collect an alleged consumer debt.

        33.     Due to the extreme volume of calls Plaintiff received, Plaintiff was unable

 to maintain a fully contemporaneous call log of each and every call she received from

 Defendant; however, the following is a sample of calls Plaintiff received from July 2017

 through August 2017:

                   i.   July 16, 2017 at 5:01 p.m.;

                  ii.   July 16, 2017 at 5:33 p.m.;

                 iii.   July 17, 2017 at 10:24 a.m.;

                 iv.    July 17, 2017 at 11:00 a.m.;

                  v.    July 17, 2017 at 11:55 a.m.;

                 vi.    July 17, 2017 at 1:04 p.m.;

                 vii.   July 17, 2017 at 1:44 p.m.;
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             viii.   July 18, 2017 at 10:10 a.m.;

               ix.   July 18, 2017 at 11:02 a.m.;

               x.    July 18, 2017 at 1:33 p.m.;

               xi.   July 19, 2017 at 11:25 a.m.;

              xii.   July 19, 2017 at 12:28 p.m.;

             xiii.   July 21, 2017 at 8:13 a.m.;

             xiv.    July 21, 2017 at 8:28 a.m.;

              xv.    July 21, 2017 at 8:43 a.m.;

             xvi.    July 21, 2017 at 8:59 a.m.;

             xvii.   July 21, 2017 at 9:19 a.m.;

            xviii.   July 21, 2017 at 9:34 a.m.;

             xix.    July 21, 2017 at 10:35 a.m.;

              xx.    July 21, 2017 at 11:41 a.m.;

             xxi.    July 21, 2017 at 12:13 p.m.;

             xxii.   July 21, 2017 at 1:13 p.m.;

            xxiii.   July 22, 2017 at 9:25 a.m.;

            xxiv.    July 22, 2017 at 10:29 a.m.;

             xxv.    July 22, 2017 at 11:44 a.m.;

            xxvi.    July 22, 2017 at 12:18 p.m.;

           xxvii.    July 22, 2017 at 1:14 p.m.;

           xxviii.   July 22, 2017 at 2:18 p.m.;

            xxix.    July 30, 2017 at 8:21 a.m.;
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             xxx.     July 30, 2017 at 8:51 a.m.;

            xxxi.     July 30, 2017 at 9:52 a.m.;

           xxxii.     July 30, 2017 at 1:17 p.m.;

           xxxiii.    July 30, 2017 at 3:28 p.m.;

           xxxiv.     July 31, 2017 at 9:16 a.m.;

            xxxv.     July 31, 2017 at 9:17 a.m.;

           xxxvi.     July 31, 2017 at 10:24 a.m.;

          xxxvii.     July 31, 2017 at 10:56 a.m.;

          xxxviii.    July 31, 2017 at 11:39 a.m.;

           xxxix.     July 31, 2017 at 1:07 p.m.;

               xl.    August 1, 2017 at 8:14 a.m.;

              xli.    August 1, 2017 at 8:56 a.m.;

             xlii.    August 1, 2017 at 9:49 a.m.;

             xliii.   August 1, 2017 at 10:21 a.m.;

             xliv.    August 1, 2017 at 3:28 p.m.;

              xlv.    August 1, 2017 at 4:06 p.m.;

             xlvi.    August 1, 2017 at 5:46 p.m.;

            xlvii.    August 2, 2017 at 8:15 a.m.;

           xlviii.    August 2, 2017 at 8:49 a.m.;

             xlix.    August 2, 2017 at 9:21 a.m.;

                 l.   August 2, 2017 at 9:52 a.m.;

                li.   August 2, 2017 at 10:40 a.m.;
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                   lii.   August 2, 2017 at 1:28 p.m.; and

                  liii.   August 2, 2017 at 2:25 p.m.

         34.     Defendant has, or should be in possession and/or control of, call logs,

 account notes, Autodialer reports and/or other records that detail the exact number of

 calls it placed to Plaintiff.

         35.     Despite actual knowledge of its wrongdoing, Defendant continued its

 campaign of abuse by continuing to call Plaintiff despite not having Plaintiff’s express

 consent to call her cellular telephone.

         36.     Defendant has corporate policies and/or procedures to use an Autodialer or

 artificial voice or prerecorded message, and to place autodialed calls, just as it did to

 Plaintiff’s cellular telephone in this case, with no way for the called party and recipient of

 the calls, including Defendant, to permit, elect, or invoke the removal of Plaintiff’s

 cellular number from Defendant’s call list.

         37.     The structure of Defendant’s corporate policies and procedures permits the

 continuation of calls to individuals like Plaintiff, despite these individuals revoking any

 consent, or perceived consent, Defendant may have believed it had to place such calls.

         38.     Defendant’s corporate policies and procedures provided no means for

 Plaintiff to have her cellular number removed from Defendant’s call list; or, otherwise

 invoke and/or request the cessation and/or suppression of calls to Plaintiff from

 Defendant.
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          39.     Defendant has corporate policies or procedures of using an Autodialer or

  an artificial voice or prerecorded message to collect alleged debts from individuals, such

  as Plaintiff, for its financial benefit.

          40.     Defendant has had numerous complaints from consumers across the

  country against it asking to not be called; however, Defendant continues to call

  consumers.

          41.     Defendant has numerous other federal lawsuits pending against it alleging

  similar violations as stated in this Complaint.

          42.     Defendant has numerous complaints against it, across the country,

  asserting that its Autodialer continues to call individuals who have revoked consent to be

  called by Defendant.

          43.     Plaintiff expressly revoked consent to Defendant’s placement of telephone

  calls to Plaintiff’s cellular telephone number by the use of an Autodialer or an artificial

  voice or prerecorded message immediately upon Defendant’s placement of the calls.

          44.     Defendant knowingly employs methods and/or has corporate policies

  and/or procedures designed to harass and abuse individuals such as Plaintiff.

          45.     Defendant knowingly employs methods that do not permit the cessation or

  suppression of autodialed calls to Plaintiff’s cellular telephone.

          46.     Defendant has a corporate policy to harass and abuse individuals despite

  actual knowledge the called parties do not wish to be called.

          47.     None of Defendant’s telephone calls placed to Plaintiff were placed for

  “emergency purposes” as specified in 47 U.S.C. § 227(b)(1)(A).
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          48.    As recently acknowledged by Judge Easterbrook of the Seventh Circuit

  Court of Appeals in Patriotic Veterans, Inc. v. Zoeller, “every call uses some of the

  phone owner’s time and mental energy, both of which are precious.”

          49.    For each call Defendant placed to Plaintiff’s cellular telephone without

  express consent, Plaintiff suffered from the occupation of her cellular telephone line and

  cellular telephone by unwelcomed calls which made the cellular phone unavailable for

  legitimate incoming or outgoing calls.

          50.    For each call Defendant placed to Plaintiff’s cellular telephone without

  express consent, Plaintiff suffered from unnecessary expenditure of her time. The time

  Plaintiff spent on answered calls was unnecessary because she repeatedly asked for calls

  to stop. Additionally, Plaintiff expended unnecessary time for unanswered calls by

  dealing with notifications and call logs that reflected the unwanted calls. Furthermore,

  this also impaired the usefulness of these features of Plaintiff’s cellular telephone, which

  are designed to inform the user of important missed communications.

          51.    Each and every call placed without express consent by Defendant to

  Plaintiff’s cell phone was an injury in the form of a nuisance and annoyance to the

  Plaintiff.

          52.    Each and every call Defendant placed to Plaintiff’s cellular telephone

  without express consent resulted in the injury of unnecessary expenditure of Plaintiff’s

  cellular telephone’s battery power.
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          53.     Each and every call Defendant placed to Plaintiff’s cellular telephone

  without express consent resulted in the injury of trespass to Plaintiff’s chattel, namely her

  cellular telephone and cellular telephone services.

          54.     As a result of aforementioned tenacious phone calls and collection efforts,

  Plaintiff was affected, both personally and individually, as she experienced an invasion of

  privacy and the intrusion upon her right of seclusion. Plaintiff also suffered from stress,

  embarrassment, indignation, and muscle spasms. Additionally, Plaintiff experienced loss

  of happiness, concentration, and sleep. Furthermore, Plaintiff was hindered by the loss of

  phone battery life and phone minutes as well as the cost of additional charging, and the

  intrusion upon and occupation of the capacity of her cell phone. All of the

  abovementioned were caused by, and/or directly related to, Defendant’s attempts to

  collect a consumer debt allegedly owed by Plaintiff.

                                              COUNT I
                                       (Violation of the TCPA)

          55.     Plaintiff incorporates and realleges paragraphs one (1) through fifty-four

  (54) as if fully set forth herein.

          56.     Defendant willfully violated the TCPA with respect to Plaintiff, especially

  for each of the Autodialer calls it made to Plaintiff’s cellular telephone after Plaintiff

  notified and requested Defendant that she wished for the calls to immediately cease.

          57.     Defendant repeatedly placed non-emergency telephone calls to Plaintiff’s

  cellular telephone using an Autodialer or artificial voice or prerecorded voice message

  without Plaintiff’s prior express consent and in violation of federal law, including 47

  U.S.C § 227(b)(1)(A)(iii).
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         WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so

  triable and judgment against Defendant for statutory damages, punitive damages, actual

  damages, treble damages, enjoinder from further violations of these parts and any other

  such relief the Court may deem just and proper.

                                           COUNT II
                                   (Violation of the FCCPA)

         58.     Plaintiff re-alleges and fully incorporates Paragraphs one (1) through fifty-

  four (54) above as if fully stated herein.

         59.     At all times relevant to this action, Defendant is subject to and must abide

  by the law of the State of Florida, including, without limitation, Fla. Stat. § 559.72.

         60.     Defendant violated Fla. Stat. § 559.72(7) by willfully engaging in conduct

  with such frequency as can reasonably be expected to harass the debtor.

         61.     Defendant’s actions have directly and proximately resulted in Plaintiff’s

  prior and continuous sustaining of damages as described by Fla. Stat. § 559.77.
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         WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so

  triable and judgment against Defendant for statutory damages, punitive damages, actual

  damages, costs, interest, attorney fees, enjoinder from further violations of these parts and

  any other such relief the Court may deem just and proper.

                                                        Respectfully submitted,



                                                        Jared M. Lee, Esquire
                                                        Florida Bar No #: 0052284
                                                        Morgan & Morgan, Tampa P.A.
                                                        20 N. Orange Avenue, Suite 1600
                                                        Orlando, FL 32801
                                                        Tele: (407) 420-1414
                                                        Fax: (407) 245-3485
                                                        JLee@ForThePeople.com
                                                        MRathbun@ForThePeople.com
                                                        JSharpe@ForThePeople.com
                                                        Counsel for Plaintiff
